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                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OKLAHOMA


United States of America,
                                           Plaintiff,
vs.                                                         Case No.: 22-cr-115-CVE


Richard Dale Deeter, Jr.,                                   AMENDED SCHEDULING ORDER
Donald B Pearson,
Jonna Elise Steele,
Izabella Marie Boling,
Nicole Cox,

                                      Defendant(s).

At the direction of Claire V. Eagan, U.S. District Judge, upon the appearance of defendant Nicole Cox,
it is hereby ordered that:
      Motions due:                                                 6/6/2022
      Responses due:                                               6/10/2022
      PT/CP/Motions Hearing:                                       6/16/2022             at 9:30 a.m.
      Voir dire, jury instructions, and trial briefs due:          7/5/2022
      Jury Trial:                                                  7/11/2022             at 9:15 a.m.




                                                        Mark C. McCartt,
                                                        Clerk of Court, United States District Court


                                                         S/C. Portilloz
                                                        By: C. Portilloz, Deputy Clerk




Scheduling Order Amended                                                                  (CR-04a Modified 6/2020)
